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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
IN RE:                                                               CHAPTER 11
LIMETREE BAY SERVICES, LLC, et al.,1                                 CASE NO.: 21-32351
              Debtors.                                               (Jointly Administered)
                                                                     (Emergency Hearing Requested)
LIMETREE BAY REFINING, LLC

                             Plaintiff,                              Adv. Pro. No. 21-03791

         v.


BEECHER COTTON, PAMELA COLON,
SIRDINA ISAAC-JOSEPH, ESTHER
CLIFFORD, SYLVIA BROWNE, ALVINA
JEAN-MARIE ILARRAZA, FRANCIS E.
CHARLES, THERESA J. CHARLES, HELEN
SHIRLEY, ANISHA HENDRICKS, CRISTEL
RODRIGUEZ, JOSIE BARNES, ARLEEN
MILLER, ROSALBA ESTEVEZ, ISIDORE
JULES, JOHN SONSON, VIRGINIE
GEORGE, CLIFFORD BOYNES,
CHRISTOPHER CHRISTIAN, MARGARET
THOMPSON, DELIA ALMESTICA, CARLOS
CHRISTIAN, ANNA REXACH-
CONSTANTINE, MERVYN CONSTANTINE,
NEAL DAVIS, EDNA SANTIAGO,
GUIDRYCIA WELLS, O’SHAY WELLS,
AARON G. MAYNARD, VERNE MCSWEEN,
ROCHELLE GOMEZ, MYRNA MATHURIN,
JOAN MATHURIN, LEOBA JOHN
BAPTISTE, WARRINGTON CHAPMAN,
AND ANNE MARIE JOHN BAPTISTE,


                             Defendants.



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.
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                 DEBTOR’S EMERGENCY MOTION TO COMPEL
            ATTENDANCE OF THE DEBTOR’S INSURERS AT MEDIATION

Emergency relief has been requested. Relief is requested not later than 10:00 a.m. (CT) on
August 27, 2021, or as soon as practical thereafter.

If you object to the relief requested or you believe that emergency consideration is not
warranted, you must appear at the hearing if one is set, or file a written response prior to
the date that relief is requested in the preceding paragraph. Otherwise, the Court may
treat the pleading as unopposed and grant the relief requested.

A hearing will be conducted on this matter on August 27, 2021, at 10:00 a.m. (prevailing
Central Time) in Courtroom 400, 4th floor, 515 Rusk St., Houston, Texas 77002.
Participation in the hearing will only be permitted by an audio and video connection.

Audio communication will be by use of the Court’s dial-in facility. You may access the
facility at (832) 917-1510. You will be responsible for your own long-distance charges. Once
connected, you will be asked to enter the conference room number. Judge Jones’s
conference room number is 205691. Video communication will be by use of the
GoToMeeting platform. Connect via the free GoToMeeting application or click the link on
Judge Jones’s home page. The meeting code is “Judge Jones”. Click the settings icon in the
upper right corner and enter your name under the personal information setting.

Hearing appearances must be made electronically in advance of both electronic and in-
person hearings. To make your appearance, click the “Electronic Appearance” link on
Judge Jones’s home page. Select the case name, complete the required fields and click
“Submit” to complete your appearance.

       1.      Limetree Bay Refining, LLC (the “Limetree Refining,” or the “Debtor”), which,

along with its debtor affiliates (together, the “Debtors”), are debtors and debtors in possession in

the above-captioned chapter 11 cases, seeks entry of an order, substantially in the form attached

hereto as Exhibit A (the “Order”) compelling the Debtor’s insurers, namely American

International Group UK Limited, Allianz Global Corporate & Specialty / Interstate Fire and

Casualty Co., Arch Insurance (Bermuda), Argo Re Ltd., AXA XL Bermuda Ltd., Axis Surplus

Lines Insurance Company, Chubb Bermuda Insurance Ltd., Chubb North American on behalf of

Westchester Surplus Lines Ins. Co., Endurance Specialty Insurance Ltd., Enviant, Ironshore

Specialty Insurance Company, Hamilton Re Ltd., Liberty Specialty Markets Bermuda Limited,

Markel Bermuda Limited / Evanston Insurance Company, Oil Casualty Insurance, Ltd., SCOR,

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and Underwriters at Lloyd’s of London/The Chaucer Group and Apollo Syndicate Management

Ltd. (collectively, the “Insurers”) to attend mediation currently pending before the Honorable

Marvin Isgur as Mediator (the “Mediator”). In support thereof, the Debtor respectfully states as

follows:

   I. BACKGROUND

       2.      On July 26, 2021, the Debtor commenced the above-captioned adversary

proceeding against plaintiffs in Cotton v. Limetree Bay Ventures, LLC, Case No. 1:21-cv-00261

(D.V.I.) (the “Cotton Class Action”), the Shirley v. Limetree Bay Ventures LLC, Case No. 1:21-

cv-00259 (D.V.I.) (the “Shirley Class Action”), the Boynes v. Limetree Bay Ventures, LLC, Case

No. 1:21-cv-00253 (D.V.I.) (the “Boynes Class Action”), and Charles v. Limetree Bay Ventures,

LLC, 1:21-cv-00260 (D.V.I.) (the “Charles Class Action,” and together with the Cotton Class

Action, the Shirley Class Action, the Boynes Class Action, the “Class Actions”) and filed the

Motion for Preliminary Injunction, Emergency Motion to Extend the Automatic Stay and,

Additionally or in the Alternative, Grant Preliminary Injunctive Relief, Halting the Prosecution

of the Class Action Against Debtor and Non-Debtor Defendants [Dkt. No. 2] (the “Motion”).

       3.      On July 26, 2021, the Court issued a Temporary Restraining Order under Fed. R.

Civ. P. 65(b)(1) and ordered a temporary extension of the bankruptcy stay to include Limetree

Bay Ventures, LLC, Limetree Bay Terminals LLC, Arclight Capital Partners LLC, Freepoint

Commodities, LLC, EIG Global Energy Partners, LLC, and BP Products North America

(collectively, the “Non-Debtor Defendants”), all defendants in the Class Actions, for fourteen

(14) days and ordering briefing regarding additional relief [Dkt. No. 3].

       4.      On August 3, 2021 and on August 12, 2021, the Plaintiffs in the Class Actions

filed oppositions to additional relief with supporting evidence [Dkt. Nos. 8-30, 67].




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        5.        On August 10, 2021, the Court entered a Stipulation and Agreed Order [Dkt. No.

56] (the “Stipulation”) which provided that the parties would work consensually in a mediation

(the “Mediation”) with the Mediator to address the exigent needs of the residents of the U.S.

Virgin Islands for access to clean water for drinking, bathing, cooking, and gardening, and the

health and safety of pets and livestock (the “Exigent Health and Safety Issues”).

    II. RELIEF REQUESTED

        6.        On August 19, 2021, the Debtor, the Non-Debtor Defendants, and counsel to the

Class Actions met with the Mediator to plan for the Mediation.

        7.        On August 26, 2021, the Mediator held a Mediation session with the Debtor, the

Non-Debtor Defendants, counsel to the Class Actions, and certain of the Debtor’s excess

insurers. Not all insurers were in attendance in part because they were provided short notice of

the mediation. Nonetheless, the Insurers have been on notice of the claims asserted against the

Debtor in the Class Actions.

        8.        The Mediator and the parties to the Mediation have agreed that the Mediation will

be more effective if the Insurers are present. The Debtor hopes and believes that the Insurers

will attend voluntarily. However, to ensure that the next Mediation session is effective, the

Mediator instructed the parties to file the instant Motion seeking an order to compel the Insurers

to attend.

        9.        The next session of Mediation may be held as early as Monday, August 30, 2021,

as appropriate.

    III. JURISDICTION AND VENUE

        10.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

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District of Texas, dated May 24, 2012 (the “Amended Standing Order”). The Debtor confirms

its consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), to the entry of a final order by the Court in connection with this motion to

the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

       11.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       12.      The bases for the relief requested herein are sections 105 of title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).

   IV. BASIS FOR EMERGENCY RELIEF

       13.      The Debtor respectfully requests emergency consideration of this motion in

accordance with Bankruptcy Local Rule 9013-1(i). In particular, the parties wish to mediate

again early in the week of August 30, 2021 in order to resolve the Exigent Health & Safety

Issues. To the extent practicable, the Debtor requests that the Court enter the Order by 4:00 p.m.

(CT) on Friday, August 27, 2021. The Debtor believes that the relief requested in this motion is

critical to avoid the Debtor having to expend unnecessary costs and expenses related to the Class

Actions, preserve the resources of the Debtor’s estate, maintain the viability of the Debtor’s

operations and negotiations during this critical stage of these Chapter 11 cases, and ensure a

prompt remediation program to address the environmental issues described above. Accordingly,

the Debtor respectfully requests that the Court approve the relief requested in this motion on an

emergency basis.

       WHEREFORE, the Debtor respectfully requests that Court issue an order compelling

the attendance of the Debtor’s Insurers at the Mediation.




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       RESPECTFULLY SUBMITTED this 26th day of August, 2021.

                                                    BAKER & HOSTETLER LLP

                                                    /s/ Elizabeth A. Green
                                                    Elizabeth A. Green, Esq.
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                                                    (Admitted pro hac vice)

                                                    Proposed Counsel for the Debtors and Debtors
                                                    in Possession

                                       Certificate of Accuracy
        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                       /s/ Elizabeth A. Green
                                                      Elizabeth A. Green

                                     Certificate of Service

        I certify that on August 26, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and the parties on the attached Exhibit A via email.
                                               /s/ Elizabeth A. Green
                                               Elizabeth A. Green


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